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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
Plaintiff,                            §                Case No: 1:20-cv-00262-RGA
                                      §
vs.                                   §                PATENT CASE
                                      §
AVA ENTERPRISES, INC.,                §
                                      §
Defendant.                            §
_____________________________________ §

                                  ORDER OF TRANSFER

       The Court has considered Plaintiff Display Technologies, LLC’s Motion to Transfer

Venue. The Court is of the opinion that the Motion to Transfer Venue should be GRANTED.

       IT IS THEREFORE ORDERED that this matter is hereby transferred to the

Central District of California.




       SO ORDERED this 1 day of April, 2020
        /s/ Richard G. Andrews
        United States District
        Judge
